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UNITED STATES DISTRICT COURT)! £99 ~3 Py L: 28
SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION ERK

   

 

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SUPERSEDING INDICTMENT NO.

UNITED STATES OF AMERICA
2:19-cr-003
v.
18 U.S.C. § 2252A(a)(2)
VINCENT SANDERS Distribution of Child Pornography

18 U.S.C. § 2252A(a)(5)(B)
Possession of Child Pornography

18 U.S.C. § 2252A(a)(2)

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) Receipt of Child Pornography

PENALTY CERTIFICATION
The undersigned Assistant United States Attorney hereby certifies that the

maximum penalties for the offenses charged in the Indictment are as follows:

Counts 1 and 3: Distribution and Receipt of Child Pornography
18 U.S.C. § 2252(a)(2)

e Imprisonment for not less than 5 years, and no more than
20 years;

e Fine of not more than $250,000;

e Supervised Release Term of at least 5 years and up to life;

e A mandatory $100 special assessment and a possible
second special assessment under 18 U.S.C. §§ 3014 and/or
2259A; and

e Registration under the Sex Offender Registration and
Notification Act.
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Count 2:

Possession of Child Pornography
18 U.S.C. § 2252(a)(5)(B)

Imprisonment of not more than 20 years;

Fine of not more than $250,000;

Supervised Release Term of at least 5 years and up to life;
A mandatory $100 special assessment and a possible
second special assessment under 18 U.S.C. §§ 3014 and/or
2259A; and

Registration under the Sex Offender Registration and
Notification Act.

Respectfully submitted,

BOBBY L. CHRISTINE

UNITED STATBS ATTORNEY

Nn C. Mat eo
Assittant United States Attorney

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